Case 2:05-Cv-02311-.]PI\/|-tmp Document 11 Filed 07/12/05 _ Page 1 of 2 Page|D 1

]N THE UNITED STATES DISm-CGUR "'DB‘
FOR THE WESTERN DISTRICT OF TENN§`:SSEES h h

 

WESTERN DIVISIdlEJUL
l\*{)l\“v'\$ la GULB.D
Mae H. Brooks wm OF m M
Appellant,
v. Case No.: 05-2311

Jo Anne B. Barnhart

Appellee.

 

ORDER SETTING SCHEDUL]NG IN SOCIAL SECURITY CASE

 

The issues in the above-referenced matter having been joined, it is hereby ordered that the
following schedule shall be followed:

1. Appellant shall file a brief in support of the asserted claim within 30 days of the
entry hereof.

2. Appellee’s brief in response shall be filed within 30 days of the filing of
appellant’s brief.

3. Reply brief may be filed within 10 days of the filing of appellee’s response brief.
No further briefs shall be filed without leave of Court.
Entered this 12 day of 7, 2005.
THOMAS M. GOULD, CLERK

BY:
eputy Clerk

Ti'ais document entered on the docket shea n com llance
with Flu!e 53 and/or `?9(3) FRCP on " "

 

UNITED`TATES DISTCRIT COURT - WESTERN DTISICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:05-CV-023]l Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

Andrew E. Bender

LAW OFFICES OF ANDREW E. BENDER
382 Washington Ave.

l\/lemphis7 TN 38105

Honorable J on McCalla
US DISTRICT COURT

